                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF NEW YORK


             FULL CIRCLE UNITED, LLC,                   CASE NO. 1:20-CV-03395

                   Plaintiff,
             v.

             BAY TEK ENTERTAINMENT, INC.,

                   Defendant.




             BAY TEK ENTERTAINMENT, INC.,

                   Counterclaim Plaintiff,
             v.

             FULL CIRCLE UNITED, LLC,

                   Counterclaim Defendant,

             and

             ERIC PAVONY,

                   Additional Counterclaim Defendant.



                               BAY TEK ENTERTAINMENT, INC.’S FILING OF
                            INTENDED EXHIBITS AND DEPOSITION TESTIMONY
                           DESIGNATED BY FULL CIRCLE TO WHICH IT OBJECTS
                                            PART 5 OF 5




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